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                     UNITED STATES DISTRICT COURT DISTRICT OF UTAH

                   CONSENT TO JURISDICTION OF A MAGISTRATE JUDGE

                   Do not electronically file the Consent Form in the case.
   Under 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73, you are hereby notified that a magistrate
   judge for the District of Utah may conduct any or all proceedings in this case, including a jury
   or bench trial and entry of a final judgment. Exercise of this jurisdiction by the magistrate
   judge is permitted only if all parties voluntarily sign and return the attached Consent Form.

   An appeal from a judgment entered by a United States magistrate judge will be made directly
   to the United States Court of Appeals for the Tenth Circuit in the same manner as an appeal
   from any other judgment of this court. 28 U.S.C. § 636(c); Fed. R. Civ. P. 73.

   There are good reasons to consent to the jurisdiction of a magistrate judge. Magistrate
   judges have experience with nearly all types of civil matters, and their cases are usually
   resolved more quickly than cases before a district judge. A magistrate judge's trial dates are
   more certain because magistrate judges do not preside over felony criminal matters, which
   take priority over civil jury trials.

   The Clerk’s Office will send the Consent Form to parties in most civil cases in two instances:

       Cases assigned to Magistrate Judge at case opening. Under DUCivR 72-4,
       some cases are assigned to a magistrate judge at case opening. If a case is
       assigned to a magistrate judge at case opening, the magistrate judge’s
       authority pending consent is limited to the authority under 28 U.S.C. §
       636(b)(1)(A) and (B) and DUCivR 72-2(a)(6).

       Cases assigned to District Judge at case opening. Under 28 U.S.C. §
       626(c)(2), the Clerk of the Court is required to notify the parties of the
       availability of a magistrate judge to exercise complete jurisdiction in civil
       cases.

The parties will have 21 days from the date the Clerk’s Office sends the form to return it to the
court. When a party is added later to a case, after the existing parties have consented, the
consent clerk will send the Consent Form to the newly added party. The newly added party will
have 21 days after the clerk sends the Consent Form to return it to the Clerk’s Office. If the
newly added party does not consent to the magistrate judge presiding over the case, the Clerk’s
Office will randomly assign the case to a district judge and automatically enter a referral to the
same magistrate judge under 28 U.S.C. § 636 (b)(1)(A) or the same referral the district judge
previously entered.
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Do not electronically file the form in the case. A party should return the form to the Clerk’s
Office by emailing it to consents@utd.uscourts.gov or mailing it to the following address:

                            Orrin G. Hatch United States Courthouse
                            Attention: Consent Clerk
                            351 S. West Temple Street
                            Salt Lake City, Utah 84101

The form will only be filed in the case if all parties consent. The parties may return one form for
the case or may return individual forms, whichever process is easiest for the parties and
attorneys.

A party may, without adverse consequences, decline to consent. If any party does not consent,
the Clerk’s Office will not communicate a party's identity to any judge assigned to the case. If a
party requests case reassignment, the Clerk’s Office will not docket the form in the case. When
a party fails to return the form, the case either will remain assigned or be reassigned to the
district judge. Parties are reminded that each district judge may, and regularly do, refer civil
matters to the magistrate judges in this district under 28 U.S.C. § 636(b)(1)(A) or § 636(b)(1)(B).
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                                    THE UNITED STATES DISTRICT COURT
                                            DISTRICT OF UTAH

                                                        )
                        Plaintiff                       )
                                                        )   Civil Action No.
                          v.                            )
                                                        )

                       Defendant


                      CONSENT TO THE JURISDICTION OF THE MAGISTRATE JUDGE

         A magistrate judge may conduct all proceedings in this civil action, including a jury or nonjury
 trial and the entry of a final judgment, only if all parties voluntarily consent. The judgment may be
 appealed directly to the United States Court of Appeals for the Tenth Circuit like any other
 judgment of this court.
         You may consent or you may decline to consent to the jurisdiction of the magistrate judge
 without any adverse consequences. The Clerk’s Office will not communicate the name of any party
 declining to consent to any judge assigned to this case.
         Please complete the following section to indicate your choice:


  Consent          Name of Party or Attorney (Print)                     Signature                      Date


  Yes No


  Yes No


  Yes No

After completing this form, do not electronically file it in the case. Email this form in PDF format to
consents@utd.uscourts.gov or mail it to the following address:

                                           Orrin G. Hatch United States Courthouse
                                           Attention: Consent Clerk
                                           351 S. West Temple Street
                                           Salt Lake City, Utah 84101

If all parties consent, then the clerk will file the form in the case. If the case is reassigned, the
clerk will not file the form in the case.
